Case 1:28-0v-00229-JL Document 7 Filed CNR PTA L.
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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF NEW YORK

ANTHONY RUGGIERO ,

Plaintiff , JURY TRIAL DEMANDED
V- 23-CV-0229(JLS)
DONALD D. ROGERS, et al. , FIRST AMEMDED COMPLAINT
Defendants.

DONALD D. ROGERS , Correction Officer , Attica C.F. ,

MARK E. CARROW , Correction Officer , Attica C.F. ,

JOSEPH H. NOETH , Superintendent, Attica C.F. ,

LENA RUSSI , Deputy Superintendent for Programs , Attica C.F. ,
THEA HALE , Nurse 2, Attica C.F. ,

RICHARD TENBRICK , Dentist 2, Attica C.F. ,

T.M. FINNERTY , NYSDOCCS , Commissioner’s Hearing Officer ,
JAMES A. O’GORMAN , Deputy Commissioner , NYSDOCCS ,

ANTHONY J. ANNUCCI, Commissioner , NYSDOCCS ,
DANIELS WELL j Dwectoe XS OM ,
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Sued in their Individual Capacities , defendants.

INTRODUCTION

This is a civil rights action filed by Anthony Ruggiero , an ex-state prisoner seeking
compensatory and punitive damages under 42 U.S.C. Section 1983 , alleging excessive use
of force , wanton infliction of pain, sexual assault, denial of dental treatment , denial of due
process , and application of a written unconstitutional policy , all in violation of Plaintiff’s

rights protected under the Fourth , Fifth, Eighth , and Fourteenth Amendments to the United

States Constitution.

JURISDICTION AND VENUE

1) The Court has jurisdiction over the Plaintiff's claims of violation of federal
constitutional rights under 42 U.S.C. subsections 1331(1) and 1334.

2) All of the claims arose at the Attica Correctional Facility which is within the

jurisdiction of the Western District Court.

PARTIES

3) Plaintiff's current mailing address is 400 Flower Road , Apt.9B Valley Stream , New

York 11581.
4)

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The plaintiff was housed at the Attica Correctional Facility 639 Exchange Street
Attica , New York 14011-0149 (hereinafter “Attica C.F”) , at all times relevant to the

events described in the complaint,

Defendant Donald D. Rogers was at all times relevant herein employed as a
correction officer at Attica C.F. He is being sued in his Individual Capacity.
Defendant Mark E, Carrowwasatall times relevant herein employed as a correction
officer at Attica C.F. Heis being sued in his Individual Capacity.

Defendant Joseph H. Noeth was at all times relevant herein employed as the
Superintendent for Attica C.F. He is being sued in his Individual Capacity.
Defendant Lena Russi was at all times relevant herein employed as the Acting
Deputy Superintendent for Programs at Attica C.F. She is being sued in her Individual
Capacity.

Defendant Thea Hale was at all relevant times herein employed as Nurse 2 at Attica

C.F. She is being sued in her Individual Capacity.

10) Defendant Richard Tenbrick was at all times relevant herein employed as a dentist

at Attica C.F, He is being sued in his Individual Capacity.

11) Defendant T.M. Finnerty was at all relevant times herein employed as a

Commissioner’s Hearing Officer. His employment address is New York State
Department of Corrections and Community Supervision State Office Building
Campus , Building No.2 , 1220 Washington Avenue Albany , New York 12226

(hereinafter “NYSDOCCS”). He is being sued in his Individual Capacity.
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12)Defendant Anthony J. Annucci was at all relevant times herein the Acting
Commissioner for NYSDOCCS. He is being sued in his Individual Capacity.

13) Defendant James A. O’Gorman was at all times relevant herein employed as a
Deputy Commissioner for NYSDOCCS. He is being sued in his Individual Capacity.

14) Defendant Danielle Dilt was at all times relevant herein employed as the Director of
Central New York Psychiatric Center , Old River Road Box 300 , Marcy New York
13404-0300 which is her employment address. She is being sued in her Individual
Capacity

15) All of the defendants have acted under color of state law at all times relevant to this

complaint.

FACTS AND CAUSES OF ACTION

16) Just prior to June 5, 2020 at the Attica Correctional Facility in A-Block , security staff
had been targeting the “white” table for several weeks by harassing the 6-8 white
inmates , including the plaintiff , wno own that table. They were pulling us one by
one from the yard daily , conducting excessive frisks , while at the same time leaving
all the other inmate races alone. Discriminatory frisking. There was tension between
the staff and us. That is the back story leading up to the constitutional violations.

Security staff were acting and talking tough towards plaintiff and his associates.
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17)On June 5 , 2020, inside the Attica C.F. A-Block recreation yard at approximately

7: . i
10 p.m., | was instructed to report to the platform by defendants Rogers , Carrow

and another correction officer.

18) were talking tough and threatening to beat me when we got inside.

EIGHTH AMENDMENT EXCESSIVE USE OF FORCE CLAIMS AGAINST DEFENDANTS
ROGERS AND GARROW

19) After being threatened with a beating by defendants Rogers and Carrow, | panicked
and ran in to the middle of the yard , BUT THEN | STOPPED DEAD AND PUT MY
HANDS UP IN THE AIR IN SURRENDER POSTURE, WITH MY BACK TO DEFENDANTS
ROGERS AND CARROW.

20) Right at that point defendant Rogers whom on this date was about 6’4 in height and
at least 270 pounds vs. the plaintiff who is 5’7 and 170 pounds , could have simply
handcuffed the plaintiff and taken him in.

21)Instead , defendant Rogers executed a LEAPING FOREARM SMASH TO THE BASE
OF PLAINTIFF’S SKULL , WITH SUCH FORCE THAT PLAINTIFF’S LEGS FLEW OUT
FROM UNDER HIM. | WAS ALMOST KNOCKED UNCONSCIOUS, Later that night
plaintiff suffered headaches , nausea and vomiting. And these symptoms are
consistent with a person that has sustained a concussion. And | know this because
| had sustained a concussion many years ago in a minor traffic accident. Despite my

complaints to medical staff , no medical attention was forthcoming.
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22) Defendant Rogers smashed plaintiff in the base of his skull with his forearm WITH
MALICE AND INTENT TO CAUSE THE PLAINTIFF BODILY HARM. AND | ONLY KNOW
WHAT THEY DID TO ME AND HOW THEY DID IT, IS BECAUSE | WATHCHED THE
VIDEO FOOTAGE AT THE DISCIPLINARY HEARING.

23) Thereafter , | was pinned face down by defendant Rogers and another officer , when
defendant Carrow arrived , he took my left hand with both of his , presumably to
apply mechanical restraints , then drops my hand, pulls out his pepper spray , and
then SPRAYED ME POINT-BLANK RANGE IN THE FACE AND MOUTH WITH OC
PEPPER SPRAY. AND HE DID IT WITH MALICE AND INTENT TO BURN MY FACE AND
CAUSE ME PHYSICAL AND BODILY HARM. His actions are also captured on this
video.

24) Defendants Rogers and Carrow used excessive force without justification against a
non-resistant plaintiff , thereby violating plaintiff's rights protected under the 8th

Amendment to the United States Constitution.

PLAINTIFF’S FIRST EIGHTH AMENDMENT CLAIMS AGAINST DEFENDANTS

ANNUCCI , O’GORMAN , DILL AND RUSSI FOR CREATING , AUTHORIZING

APPROVING AND PROMULGATING MANDATORY SUICIDE P ENTION

SCREENING NYSDOCCS’ DIRECTIVE AND POLICY NO.3152 UPON THE PLAINTIFF

PERSONAL INVOLVEMENT
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25) Defendant Annucci is personally involved in the constitutional violations caused by
Directive 3152 , pursuant to NYSDOCCS Directive No.0001 , the Commissioner has
ultimate authority over all department directives,

26) Defendant O’Gorman signed his name Directive 3152 as the “Approving” authority.

27) Defendant Dill was aware and had knowledge of Directive 3152. This policy and
directive is a collaboration between her office and NYSDOCCS.

28) Defendant Russi authorized and applied Directive 3152 against the plaintiff on June
5, 2020 and is therefore culpable in the constitutional violations,

29) Directive 3152 is a PRE-SPECIAL HOUSING UNIT -SUICIDE PREVENTION
SCREENING. THREE QUESTIONS ARE ON THE FORM 3152 THAT THE SHU
SERGEANT ASKS ANY INMATE THAT IS BEING ADMITTED TO A SPECIAL HOUSING
UNIT. THE QUESTIONS ARE:

a) DO YOU HAVE ANYTHING TO LIVE FOR
OR LOOK FORWARD TO?

b) DO YOU WANT TO HURT YOURSELF?

c) DO YOU THINK YOU CAN COPE WITH YOUR
SHU TIME?

30) THE FORM 3152 ALSO INDICATES IF AN INMATE DOES NOT ANSWER THESE THREE
QUESTIONS A REFFERAL WILL BE MADE TO THE MENTAL HEALTH UNIT.

31) On June 5, 2020 after being smashed in the base of the skull and pepper-sprayed , a
Sergeant asked me the above three questions PRIOR TO BEING ADMITTED TO THE

SHU AND | REFUSED TO ANSWER HIS QUESTIONS. | WAS NOT UNDER ANY
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PSYCHIATRIC CARE , AND CERTAINLY WAS NOT TAKING ANY PSYCHIATRIC
MEDICATION. | DID NOT AND WAS NOT AGCUSED OF DISPLAYING ANY IDEATIONS
OF SUICIDE VERBALLY OR IN BEHAVIOR. YET AT THAT POINT | WAS MANDATED TO
THE AUSPICE OF THE NYS OFFICE OF MENTAL HEALTH.

32) Plaintiff asserts that defendants Annucci , O’Gorman, Dill and Russi knowingly

and willingly allowed plaintiff to be placed in the SHU - APPARENTLY THE

CONDITIONS OF WHICH THEY KNEW WERE SO ABYSMAL AND DEPARAVED ,

THAT PLAINTIFF COULD COMMIT SUICIDE. BASED ON THE THREE QUESTIONS

AND THEIR RESPONSE WHEN | REFUSED TO ANSWER. That is my first Eighth

Amendment claim related to Directive and Form entitled 31 52.

PLAINTIFF’S SECOND EIGHTH AMENDMENT CLAIM AGAINST DEFENDANTS

ANNUCCI , O’GORMAN , DILL AND RUSSI AND THEIR DIRECTIVE 3152

33) Plaintiff refused to answer the three questions. And then THE REFERRAL KICKED IN.
UH OH. On June 5, 2020 plaintiff was taken to the “Octagon” handcuffed behind the
back, pinned faced down again by several correction officers and a Sergeant on the
floor , clothes cut off , THEN ROLLED AROUND ON THE FLOOR NAKED Side to side
. Side to side. AND THEN A CORRECTION OFFICER SPREAD PLAINTIFF’S ASS

CHEEKS AND PALPATATED PLAINTIFF’S ASSHOLE. BECAUSE THEY HAVE TO SAVE

ME. THAT 1S HOW THEY SAVED THE PLAINTIFF FROM HIMSELF. BY SEXUALLY

ASSAULTING THE PLAINTIFF.
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34) Defendants Annucci , O’Gorman , Dill, and Russi and their Directive 3152 caused

the Sexual Assault. THIS IS NOT ABOUT SEARCHING FOR CONBTRABAND. THIS IS
HAPPENING BECAUSE THEY ARE GOING TO DEPRIVE ME OF my CLOTHING AND
EVERYTHING ELSE, Because | did not answer the three questions.

35) Defendants Annucci , O’Gorman » Dill and Russi and their Directive 3152 violated
plaintiff's rights protected under the 8" Amendment to the United States
Constitution by creating , approving , promulgating and authorizing Directive 3152
that caused this sexual assault and attempted sodomy. Solely because | refused to
answer the three questions.

36) Defendants Annucci , O’Gorman , Dill and Russi violated Plaintiff's Due Process
rights protected under the 14% Amendment to the United States Constitution by
creating , authorizing , promulgating and applying this unconstitutional policy
Directive 3152 , because | did not answer the three mental health questions | was
deprived of the following and would have remained deprived of the following without
Due Process.

37) From June 5, 2020 through June 8 , 2020, plaintiff was housed ina strip-cell as direct
result of my refusal to answer the three mental health questions. Nothing in the cell
except a bare tear-proof mattress , and a tear-proof smock. No sheets , no blanket,
no pillow , not even toilet paper. No books , no mental stimuli , nothing. No mail. No
phone calls. THE CONDITIONS IN THE STRIP-CELL WERE 10 TIMES WORSE THAN

THE AVAERAGE Special Housing Unit conditions.
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¥e) "was informed by OMH Staff that | would fornain in that stata of

SHU sentence does not begin untill am released from Suicide watch. And in Order

imbo” , and my

to get released , | have to give them , THE CORRECT ANSWERS TO THE THREE

QUESTIONS.

4™ AMENDMENT ILLEGAL SEARCH AND SEIZURE AND 5™ AMENDMENT RIGHT TO

REMAIN SILENT CLAIMS AGAINST DEFENDANTS ANNUCCI, O’GORMAN , DILL AND

RUSS! AND THEIR DIRECTIVE 3152

39) My clothing and everything else was SEIZED because | refused to give correct
answers to the three mental health questions. I had just been the victim of excessive
force and chemical agent. At that time , | do not know whether or not these
defendants are going to lodge false penal law offenses against me. That happens
almost daily in these prisons. | HAVE A RIGHT TO REMAIN SILENT. AND IT DOES NOT
MATTER THE NATURE OF THE QUESTIONS THAT ARE POSED TO ME FROM LAW
ENFORCEMENT. | HAVE A RIGHT TO REMAIN SILENT REGARDLESS OF THE NATURE

OF THE QUESTIONS.

40)! was placed under pressure , by virtue of Directive 3152 , and the conditions of the
strip -cell , under extreme duress. And after three days of extreme deprivation did |
give them the correct answers to the three mental health questions. And now they

are being sued for it.
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41) Defendant Noeth for his part in the furtherance of applying Directive 3152 upon the
plaintiff, HE PLANNED THE SEXUAL ASSAULT AND ATTEMPTED SODOMY. This is not
a conclusory statement. HE ACTUALLY PLANNED THE HANDCUFFING BEHIND THE
BACK , THE PLACING OF PLAINTIFF FACE DOWN ON THE FLOOR , THE CUTTING
OFF OF MY CLOTHES , THE ROLLING ME AROUND ON THE FLOOR NAKED , THE
SPREADING OF MY BUTT CHEEKS. These are described as tactics in the Unusual
Incident Report related to this claim and incident. NYSDOCC’s Ul REPORT
INDICATES DEFENDANT NOETH AS THE PLANNER OF THIS TACTICAL PROCEDURE.

And that is how he is personally involved in the constitutional violations.

14™' AMENDMENT DUE PROCESS VIOLATIONS CLAIM AGAINST DEFENDANTS

FINNERTY

42) Plaintiff was issued two separate misbehavior reports , one for the incident in the
Recreation Yard dated June 5, 2020 , and a second dated June 6, 2020 for an alleged
incident that occurred while in the strip-cell.

43) Plaintiff has permanent nerve damage in his right arm and hand from a botched

surgery in 2013. Nerves in my brachial plexus were stretched , and | sustained a

traction injury.
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44) When | am Handcuffed behind my back, | experience moderate to severe pain, and
then after awhile of being handcuffed behind my back , numbness.

45) | had two reports to fight , there were multiple staff involved , | had questions written
for potential witnesses , there were related reports , | had a lot of paperwork | had
brought to the hearing , pages and directives that | had TO HANDLE ,» MANIPULATE |
TO HANDLE AND TURN DURING THE HEARING.

46) On June 17, 2020 , the Hearing began. | was escorted by security staff handcuffed
behind the back , placed ina little iron cage , opposing the Hearing Officer’s desk.
There is a hatch built into the door of the cage | was in for the very purpose of
removing or applying mechanical restraints.

47) Between myself and the Hearing Officer’s side are criss-cross iron bars , and about
a half-inch thick panel of Lexon glass. So , INNO WAY COULD PLAINTIFF THROW
ANYTHING ON DEFENDANT FINNERTY.

48) Prior to defendant Finnerty activating the recording device , he started asking me
questions , “Where am | from?” , “When am | getting out?”. Then tells me that he is
a “fair guy” , and that! can ask other inmates to confirm that he is a “fair guy”.

49)1 perceived this as his “pitch” for me to plead guilty , SO HE DOES NOT HAVE TO
PROVIDE ME WITH DUE PROCESS AND GO THROUGH ALL OF MY DEFENSES AND
WITNESSES , ETC. ETC. , If | cooperate with him and make his job easy, then he will
be lenient and impose a shorter SHU sentence. Because | did not cooperate HE

WENT AHEAD AND VIOLATED MY DUE PROCESS RIGHTS.
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50) No. | fight all my hearings , charges , indictments , etc. etc. Whether it be in criminal

court or at a prison disciplinary hearing. | did not acquiesce , and told him to turn

the recorder on.

51) 1 proceeded to participate in the hearing on the 17" of June 2020 , AND AGAIN ON
JULY 7, 2020 , HANDCUFFED BEHIND THE BACK. We reviewed video and audio tape.
AND | CONTINUED TO PARTICIPATE UP UNTIL THE POINT WHERE | HAD TO ACCESS
AND MANIPULATE MY PAPERWORK.

92) Over and over | made objections on the record and repeatedly requested that the
handcuffs be removed. DENIED. | also requested | be assigned an assistant to
manipulate and turn my papers for me. DENIED.

53) On July 7, 2020 after about an hour of being handcuffed behind the back while
defendant Finnerty left to do something else , | told him he will have to finish the
hearing by himself if | remain handcuffed behind my back and unable to conduct my
defense.

54) Defendant Finnerty violated plaintiff’s rights protected under the Due Process
Clause of the 14" Amendment to the United States Constitution. By keeping the
plaintiff handcuffed behind his back , under pressure , pain and duress , unable to
access my notes , written questions for witnesses , internal reports , directives , etc.
etc. , THEREBY PREVENTING PLAINTIFF FROM CONDUCTING HIS DEFENSE.

55) According to the Inmate Grievance Program response , need merely tell security

staff to remove the handcuffs.
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56) Additionally , defendant Finnerty told me that this is his “policy” , and | grieved it as

his policy , BUT IT IS NOT A POLICY. ITIS A POLICY MEANT ONLY FOR ME. Other
inmates were also going through their hearings AND NONE OF THEM WERE KEPT

HAND CUFFED BEHIND THEIR BACKS DURING THE HEARING. AND | KNOW THIS

BECAUSE | ASKED THEM AND THEY TOLD ME.

EIGHTH AMENDMENT DELIBERATE INDIFFERENCE CLAIM AGAINST DEFENDANT HALE

57) The night of June 5, 2020 through the morning of June 6, 2020, after getting smashed
in the base of my skull , and while inside the strip-cell , plaintiff experienced
headache , dizziness , nausea and vomiting.

58) 1 complained to staff on the rounds , the night of June 5, with no response because
THE MEDICAL AND SECURITY STAFF ALL KNOW WHY I WAS THERE AND ABOUT THE
INCIDENT IN THE YARD AND | AM ON THE ASSHOLE LIST AS FAR AS THEY’RE
CONCERNED AND ! GET NOTHING. VERY SIMPLY , THAT IS HOW THAT GOES.

59) Again for second time that morning | stopped defendant Hale and informed her that
| had been vomiting. She said | should have “saved it” to show her, Then an argument
ensued. | kept asking to see the doctor , | could have head trauma.

60) Defendant Hale violated plaintiff's rights protected under the 8" Amendment to the |
United States Constitution by displaying a deliberate indifference to plaintiff's
health. She refused to notify the facility doctor about plaintiff's subjective

complaints of dizziness , nausea , head pain and vomiting after she knew that! was
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a victim of use of chemical agent and excessive force , she would not even take

vitals.

14° AMENDMENT DUE PROCESS VIOLATION CLAIM AGAINST DEFENDANT

HALE, AND PLAINTIFF’S SECOND 14™ DUE PROCESS VIOLATION CLAIM

AGAINST DEFENDANT FINNERTY

61) Defendant Hale , after plaintiff demanded medical attention , fabricated a
misbehavior report alleging threats and | commented about her appearance , etc. ,
etc. She then conspired with defendant Finnerty , gave false testimony that she
knew was false at the hearing , and then defendant Finnerty references an audio
tape that supports her testimony , however , plaintiff KNOWS NO SUCH
RECORDING EXISTS.

62) Defendant Finnerty violated plaintiff’s rights protected under the 14 Amenment to
the United States Constitution knowingly and willingly entering fraudulent evidence
into the hearing record , he was biased to the point of turning the hearing into a
sham.

63) Plaintiff was found guilty of all the charges on both reports and sentenced to , inter
alia , 9 months Special Housing Unit , which was reduced to 7 months

administratively.

WAIVER OF CHALLENGE TO LOSS OF GOODS TIME CREDITS
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64) Plaintiff hereby waives and relinquishes any and all challenges to the recommended
loss of good time credits related to the two misbehavior reports dated June 5, 2020

and June 6, 2020.

ATYPICAL AND SIGNIFICANT HARDSHIPS , ABNORMAL SPECIAL HOUSING

UNIT CONDITIONS

65) Security staff , acting inn collusion , would until the food trays arrive , then take me
out to the cage/pen for my one hour of outdoor exercise , take the lid off my tray ,
and leave it in my cell

66)! would come back from the rec. pen , food ncold , hot cereal conghealed , the tray
open and exposed to the open air , several times there were flies crawling around in
my food. Staff would “schedule” my one hour of outdoor exzercise intentionally
around either breakfast or lunch. The other inmates were going out also , but
between breakfast and lunch. This continued from June 8, 20209 through August 30,
2020 , the date | was transferred out of the Attica Special Housing Unit.

67) During my time spent in the Attica SHU , from June 8, 2020 through July 10,2020 the
entire front of my cell was boarded up with Lexon glass. Plaintiff suffered extreme
record breaking hot temperatures as a result of the front of the cell being boarded

up. All in violation of plaintiff’s Due Process rights.

8™ AMENDMENT DELIBERATE INDIFFERENCE CLAIMS FOR DENIAL OF DENTAL

TREATMENT AGAINST DEFENDANT TENBRICK
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68) As of August 19, 2020 plaintiff had a need for multiple cavity fillings , and partial
dentures , while housed at the Attica C.F>

69) The need for these services was identified by defendant Tenbrick upon examination
of my teeth.

70) Pere NYSDOCCS Policy and Dental Directive fillings and cleaning are to be done
prior to begin the process for obtaini9ng dentures.

71) After waiting many months , | wrote the Attica C.F. dental department for treatment
status. | received a written response of : “NO NEED TO WRITE THEM ABOUT IT. | WILL
BE CALLED IN TURN.”

72) had three cavities in three different teeth , ALL MOLARS OR PRE-MOLARS.

73) Defendant Tenbrick displayed a deliberate indifference to plaintiff's serious dental
issues. | suffered tooth pain , and tooth/teeth degeneration. From August 2019
through August 5, 2020-about one year-WITH NO DENTAL TREATMENT AT ALL.

74) One of the teeth identified with carion identified by defendant Tenbrick had to be
extracted on October 29,2020 , at another facility.

75) And then a short period of time later the other two molars or pre-molars had to be
extracted.

76) Defendant Tenbrick violated plaintiff’s rignts protected under the 8" Amendment to

the United States Constitution.

EXHAUSTION OF ADMINISTRATIVE REMEDIES
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77) Plaintiff avers he has exhausted all administrative remedies to the highest level of
appeal with no relief obtained. Plaintiff attaches the following documentation as
proof of exhaustion:

78) Attachment A - is Attica C.F. Grievance - A-1063-20 and appeal responses
pertaining to plaintiff's excessive use of force claims against defendants Rogers and
Carrow.(4 pages)

79) Attachment B — is Attica Grievance A-1054-20 and appeal responses relating to
plaintiff's claims against defendants Annucci , O’Gorman , Dill and Russi , Noeth
and their Directive 3152 , and the sexual assault.(5 pages)

80) Attachment C — is Attica C.F. Grievance A1203-20 and appeal responses relating to
plaintiff's Due Process violation claims against defendant Finnerty , and keeping
plaintiff handcuffed behind his back for the entire disciplinary hearing.(4pages)

81) Attachment D — is plaintiffs Superintendent Hearings Appeal statement and related
responses and denials.(5 pages)

82) Attachment E - is Attica C.F. Grievance A1191 and appeal responses related to
plaintiffs food being left exposed and open to air unpurpose.(4 pages)

83) Attachment F — is plaintiff's appeal statements and one response from the Deputy
Superintendent for Security relating to the front of plaintiff’s cell being boarded up
with Lexon , and the torturous conditions and hot temperatures it caused. In
addition to related meteorological data printout indicating record breaking hot

temperatures during all times relevant.(6 pages)
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84) Attachment G - Attica C.F. Grievance A14 200-20 and appeal responses relating to
plaintiff's claims against defendant Tenbrick and my deliberate indifference to my

dental needs against him , in addition to plaintiffs inquiry and the dental

department’s response.(6 pages)

PRAYER FOR RELIEF

85) Plaintiff demands a jury trial.

86) Plaintiff requests the Court direct service of plaintiff's First Amended Complaint and
summons by U.S. Marshal’s service in accordance with plaintiffs previously granted
poor person status.

87) Plaintiff requests the Court direct all the defendants to respond to the first amended
complaint.

88) Plaintiff demands $ 1,000,000.00 (one-million dollars) in compensatory damages
from and against defendant Rogers for smashing me in the base of my skull causing
concussion,

89) Plaintiff demands an additional $ 25,000 (twenty-five thousand dollars) in punitive
damages from defendant Rogers because he intended to harm the plaintiff.

90) Plaintiff demands $ 1,000,000.00 (one-million dollars) in compensatory damages
from and against defendant Carrow for intentionally and with malice spraying me at
point-blank range in the face whilst plaintiff was face down semi-conscious with

three correction officers on my back, with malice and intent to cause me harm.
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91) Plaintiff demands an additional $ 25,000 in punitive damages from defendant
Carrow because he meant to harm the plaintiff.

92) Plaintiff demands $ 10,000,000.00 (ten-million dollars) in compensatory damages
from and against defendants Annucci , O’Gorman , Dill, Russi and Noeth jointly and
separately for the multitude of constitutional violations of plaintiff’s rights by
creating , authorizing , approving , promulgating and applying Directive and Form
3152 upon the plaintiff.

93) Plaintiff demands an additional $500,000.00 (five-hundred thousand dollars) in
punitive damages from defendants Annucci , O’Gorman , Dill, Russi and Noeth for
creating a policy and directive that caused to plaintiff to be sexually assaulted by
their subordinate corrections officers.

94) Plaintiff demands $ 1,000,000.00 )one-million dollars) in compensatory damages
from and against defendant Tenbrick for displaying a deliberate indifference to
plaintiff's serious dental issues and needs.

95) Plaintiff demands 10,000,000.00 (ten-million dollars) in damages jointly and
separately against all of the defendants for emotional pain and mental anguish
associated with being bashed in the back of the head the head , unjustifiably
sprayed point-blank range in the face , sexually assaulted , 7 months in solitary
confinement, and the ultimate loss of three major teeth that could presumable have

been saved , and all the pain and suffering associated with the above.
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96) Plaintiff demands $ 1,000,000.00 (one-mitlion dollars) in compensatory damages from and

against defendant Finnerty for violating plaintiff’s Due Process rights.

97) Plaintiff demands $ 1,000,000.00 (one-million dollars) in compensatory damages from and
against defendant Hale for intentionally depriving plaintiff of medical attention after plaintiff endured

excessive force and chemical agent attack.

Wherefore , plaintiff prays for judgment in his favor against all the defendants as to all of his

claims , and for such other and further relief as to the Court may seem just , proper and equitable.

Respectfully sugmitted ,

fe O
Dated:July27,2024 MEE ML GAS AAG

/:

Anthony Ruggiero , Plaintiff Pro se

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ATTACHMENT
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Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 24 of 72

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Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 25 of 72

Grievance No. : Date Filed
STATE OF NEW YORK
DEPARTMENT OF CORRECTIONS | A-1063-20 6/19/20
AND COMMUNITY SUPERVISION Facility Poltty Designation
Attica Correctional Facility Institutional
Title of Grievance Class Code
Staff Misconduct
INMATE GRIEVANCE PROGRAM 49
Superintendent's Signature Date
Grievant Ler C LxE 8/s/2 °
i R Din# Housing Unit
. Ruggiero 99A4419 RB-CE-8
_

Grievance is denied based upon the information provided.

Lieutenant B. investigated this complaint,

The investigation included an interview of the grievant and named staff members.

When interviewed, the grievant did not add any additional information or provide any witnesses.
Named staff denied all allegations and provided written memorandums to that effect.

The Investigating Supervisor found no evidence of staff misconduct. This incident is a documented
unusual incident and use of force. Video of the incident was reviewed. The grievant was found guilty of
his actions in a Tier II hearing. When the grievant complained the water was too hot, during the

decontamination process, Sergeant O. had the water adjusted immediately.

Based on the information provided, the grievance is denied. There is no evidence to substantiate
any allegations of staff malfeasance made by the grievant.

APPEAL STATEMENT

if you wish to refer the above decision of the Superintendent, please sign below and return this copy to your Inmate Grievance Clerk.

You have seven (7) calendar days from receipt of this notice to file your appeal. * Please state why you are appealing this decision
to C.O.R.C. . , ~ ff exe he oo ans , oo wd
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Grievance Clerk's Signature ate

* Anexception to the time limit may be requested under Directive #4040, section 701.6(q).
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 26 of 72

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TATE Community Supervision Assoelaied Cases Hearing Dale
01/14/21
ANDREW M. CUOMO ANTHONY J. ANNUCCI Tes
Covemor Acting Commies Facil . |
mo Komastionor Attica Correctional Facility
INMATE GRIEVANCE PROGRAM | 3°"

Assault/Discrimination

| CENTRAL OFFICE REVIEW COMMITTEE

GRIEVANT'S REQUEST UNANIMOUSLY DENIED

Upon full hearing of the facts and circumstances in the instant case, the action requested herein is
hereby denied. CORC upholds the determination of the Superintendent for the reasons stated.

CORG notes that this matter has been properly investigated by the facility administration, and that
the grievant was involved in an appropriately documented Unusual Incident (UI) and Use of Force
(UOF) on 6/5/20 after he was observed handling an unknown object in the yard and refused to

was too hot. Staff named in the UI/UOF deny assaulting the grievant or threatening him and indicate
that only the force necessary to gain his compliance was used. Sgt. Mo... indicates that he gave
direction to staff to have the grievant escorted from the yard due to the appearance that he was in
possession of contraband and notified Sgt. Mu...of his findings and denles racially discriminating
against him. CORC also notes that the grievant refused to comply with a strip frisk when admitted to
SHU and force was used to gain compliance and his clothes were cut off using safety scissors. Sgt.
O... notes that the grievant refused to answer all questions when screened for SHU admission and
he was placed in a smock and moved into an RCTP. cell with all approved items and denies the
grievant being placed in a cell-or escorted naked. CORC finds insufficient evidence of malfeasance

CORC notes that the grievant's 6/5/20 Tier Il! misbehavior report was upheld upon appeal by the
Office of Special Housing/Inmate Discipline on 8/19/20, CORC advisés the grievant that he was
solely responsible for his actions while in the Department's custody. In addition, CORC asserts that
there is no provision in Directive #4040 for the grievance program to be used as an additional or
Ssécondary appeal mechanism for a misbehavior report.

CORC asserts that monetary damages are not an available remedy through the inmate grievance
mechanism. CORC upholds the discretion of the facility administration to determine when to review
video or audio recordings for grievance investigations,

With respect to the grievant's appeal, CORC finds insufficient evidence to substantiate violations of
Department policy, improper medical care or malfeasance by staff and notes that he has since been
transferred,

MXV/

This document has been electronically signed by Shelley M. Mallozzi
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 27 of 72

ATTACHMENT
B
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 28 of 72

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Response of IGRC: Grievarce is DENIED. .
Par Directive #4040 §701.5 (b)(2)(4i)(a) this grievance was heard in absentia because the grievant is in H/long
Term Keep Lock. 2.5

Grievant? is ‘advised that the Inmate Grievance Program is not an outlet for monetary carpensation, damages, or
reimburcsenent.

. ing guidelines vhich
é é ‘the area supervisor is to notify mental
health imediately and also notify the watch camender if inmate refuses to i i

Date Returned to Inmate: dUL 0 1 2028

IGRC Members:

Chairperson:

Return within 7 calendar days and check appropriate boxes.*

| disagree with IGRC response and wish to L] | have reviewed deadlocked responses.
appeal to Superintendent. . Pass-Thru to Superintendent.

Ct agree with the IGRC response and wish to

! CI apply to the IGP Supervisor for
appeal to the Superintendent.

review of dismissal.

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Sevan Li fo - / Date

Grievance Clerk's Receipt . Date

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent:

Date

Grievance forwarded to the Superintendent for action:

Date

“An exception to the time limit may be requested under Directive #4040, section 701.6(g).
. Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 32 of 72

* GRIEVANCE NO. DATE FILED
. “LS New | Corrections and A-1054-20 6/15/2020
stare | Community Supervision |
ee | FACILITY POLICY DESIGNATION
Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM TITLE OF GRIEVANCE CLASS CODE
Facility policy 24
SUPERINTENDENT
SUPERINTENDENT'S SIGNATURE DATE
_ GRIEVANT DIN HOUSING UNIT
Ruggiero, A. 99A4419 RB-CE-8

The grievant asserts that he does not agree with the facility policy regarding suicide prevention.

Contrary to the grievant's assertions, this is not a facility policy it is a departmental policy. Form
3152-Suicide Prevention Screening form state that if an inmate refuses to answer a question
marked with a **™* staff must make an immediate referral to OMH. The determination is then

made by OMH staff not security staff. It is also noted by the grievant's own admission in the
written complaint that he refused to answer the question.

The grievant is advised that monetary damages are not an available remedy through the inmate
grievance program.

Based on the investigation, the decision of the IGRC is upheld and the grievance appeal is
denied.

APPEAL STATEMENT
If you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance

Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal.* Please state why you are appealing
this decision to C.O.R.C.

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GRIEVANT'S SIGNATURE ca DATE
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GRIEVANCE CLERK'S SIGNATURE . DATE

“An exception to the time limit may be requested under Directive #4040, section 701.6 (g)
Form 2133 (02/15)
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 33 of 72

Grievance Number Date Filed
A-1054-20 06/15/20
You« | Corrections and sees ess
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12/17/20
ANDREW M. CUOMO ANTHONY J, ANNUGGI  Faciily
Governor Acting Commissioner Attica Correctional Facility
Tille of Grlevance -
INMATE GRIEVANCE PROGRAM SHU Admission Policy
CENTRAL OFFICE REVIEW COMMITTEE

GRIEVANT'S REQUEST UNANIMOUSLY DENIED.

Upon full hearing of the facts and circumstances in the instant case, the action requested herein is
denied,

CORC asserts that the inmate grievance program provides incarcerated individuals with an orderly,
fair, simple, and expeditious method for resolving grievances for which there is no avenue for redress

or correction. However, the grievant's specific action requested seeks a remedy which is not available
through CORC review.

CORC asserts that monetary damages are not an available remedy through the inmate grievance
mechanism. In addition, CORC notes that the grievant was transferred on 7/34/20

CORC notes that, pursuant to- Directive #4040 § 701.6 (b), no reprisals of any kind shall be taken
against an incarcerated individual or employee for good faith utilization of this grievance procedure.
An incarcerated individual may pursue a complaint that a reprisal occurred through the grievance
mechanism,

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This document has been electronically signed by Shelley M. Mallozzi
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 34 of 72

ATTACHMENT
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Ye Uy Cae ts. -CV- 0022 \ yoy 4 WS 07/31/24 Page 35 of 72

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FORM 2131E (REVERSE) (9/12) . nes

Response of IGRC: Grievare is DAW:

Grievant is advised that the Inmate Grievance Progran is not a outlet for monetary carpensation, dangges, or
reimbursements; : 1.

Pet Set. H...in the SH) all irmates have mechenical restraints applied behind the beck to exit the cell, if the
hearing Lieutenant or Captain wants an inmate cuffed from the front with the waist chain that is done prior tb drmate
going into the hearing roan.

aug 06 2020

Date Returned to Inmate: IGRC Members: _ “S

Chairperson:

| disagree with IGRC response and wish to [-] | have reviewed deadlocked responses.

LO peal to Superintendent. Pass-Thru to Superintendent.
Cl agree with the IGRC response and wish to [Jt apply to the IGP Supervisor for
appeal to the Superintendent. review of dismissal.

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Grievance Clerk's Receipt | Date

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent:

Date

Grievance forwarded to the Superintendent for action:

Date

* An exception to the time limit may be requested under Directive #4040, section 701.6(a).
: . Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 38 of 72

ee on . . GRIEVANCE NO. DATE FILED
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<— start | Community Supervision ee
FACILITY POLICY DESIGNATION
Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM TITLE OF GRIEVANCE CLASS CODE
Cuff policy 24
SUPERINTENDENT SHO _
, SUPERINTENDENT'S SIGNATURE DATE
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GRIEVANT . . DIN HOUSING UNIT
Ruggiero, A. 99A4419 ORLEANS SHU200

The grievant asserts that he should not be cuffed in the back.

The grievant is advised that per facility policy all inmates are cuffed from behind prior to exiting
their cells. If the hearing officer requests the grievant be cuffed in the front it is done prior to the
inmate entering the hearing room. If an inmate is cuffed from behind it is noted on the hearing
record sheet that he is unable to sign due to restraints. There is no provision requiring an’
inmate to be uncuffed during his disciplinary hearing.

Based on the investigation, the decision of the IGRC is upheld and the grievance appeal is
denied.

APPEAL STATEMENT .
If you wish te refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance

Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal.* Please state why you are appealing
this decision to C.O.R.C.

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GRIEVANCE CLERK’S SIGNATURE DATE

*An exception to the time limit may be requested under Directive #4040, section 701.6 (g)
Form 2133 (02/15)

Case 1:23-cv-00229-JLS Document 7

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Page 39 of 72

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Grievance Number | Desig Cade Date Filed
A-1203-20 1/24 07/06/20 4
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Attica Correctional Facility
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INMATE GRIEVANCE PROGRAM

CENTRAL OFFICE REVIEW COMMITTEE

Cuff Policy

GRIEVANT'S REQUEST UNANIMOUSLY DENIED

Upen full hearing of the facts and circumstances in the instant case, the action requested Herein is

denied,

CORC asserts that the inmate grievance program
fair, simple, and expeditious method for resolving grievances for which there is no avenue for redress
or correction. However, the grievant’s Specific action requested seeks a remedy which is not available

through CORC review.

CORC asserts that no reprisals of any kind shall be t
employee for good faith utilization of this
701.6 (b). An incarcerated individual ma

grievance mechanism.

CORC asserts that monetary dam

he was transferred on 7/31/20.

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provides incarcerated individuals with an orderly,

aken against an incarcerated individual or
grievance procedure, in accordance with Directive #4040, §
y pursue a complaint that a reprisal occurred through the

ages are not an available remedy through the IGP, and notes that

This document has been electronically signed by Shelley M. Mallozzi
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 40 of 72

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Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 43 of 72
NEW YORK STATE
DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
THE HARRIMAN STATE CAMPUS - BUILDING 2
1220 WASHINGTON AVENUE
-ALBANY, N.Y. 12226-2050

ANTHONY J. ANNUCCT
: JAMES 0!
ACTING COMMISSIONER SEPUTY CONNISS TONER
, CORRECTIONAL FACILITIES

REVIEW OF SUPERINTENDENT'S HEARING

NAME: RUGGIERO, ANTHONY NO, 99A4419

HEARING FACILITY; ATTICA

ON BEHALF OF THE COMMISSIONER AND IN RESPONSE TO YOUR RECENT

LETTER OF APPEAL, PLEASE BE ADVISED THAT YOUR SUPERINTENDENT'S HEARING OF

JULY 10, 2020, HAS BEEN | REVIEWED AND AFFIRMED ON AUGUST 19, 2020,

*REPORT OF co CARROW, INCIDENT OF 6/5/2020 a 7: 28PMx

A. RODRIGUEZ :
ACTING DIRECTOR, SPECIAL HOUSING/
INMATE DISCIPLENARY PROGRAN

CC: FACILITY SUPERINTENDENT
CENTRAL OFFICE FILES

APPEAL DECISION RENDERED PURSUANT To SECTION 254.8 OF CHAPTER V AND
ELECTRONICALLY PRODUCED UPON THE AUTHORITY OF THE DIRECTOR OF SPECTAL
HOUSING/INMATE DISCIPLINE PROGRAM,
:23-CV- - nt7 Filed 07/31/24 Page 44 of 72
Case 1:23-cv-00229-JLS Document fare g

DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
THE HARRIMAN STATE CAMPUS ~- BUILDING 2
1220 WASHINGTON AVENUE
ALBANY, N.Y. 12226-2050

ANTHONY J. ANNUCCI JAMES O'GORMAN
ACTING COMMISSIONER DEPUTY COMMISSIONER

CORRECTIONAL FACILITIES

REVIEW OF SUPERINTENDENT'S HEARING

NAME: RUGGIERO, ANTHONY NO. 99A4G419

HEARING FACILITY: ATTICA

ON BEHALF OF THE COMMISSIONER AND IN RESPONSE TO YOUR RECENT

LETTER OF APPEAL, PLEASE BE ADVISED THAT YOUR SUPERINTENDENT'S HEARING OF

JULY 10, 2020, HAS BEEN REVIEWED AND AFFIRMED ON JULY 28, 2020,

D. VENETTOZZI
DIRECTOR, SPECIAL HOUSING/
INMATE DISCIPLINARY PROGRAM

CC: FACILITY SUPERINTENDENT
CENTRAL OFFICE FILES

APPEAL DECISION RENDERED PURSUANT TO SECTION 254.8 OF CHAPTER V AND
ELECTRONICALLY PRODUCED UPON THE AUTHORITY OF THE DIRECTOR OF SPECIAL
HOUSING/INMATE DISCIPLINE PROGRAM.
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 45 of 72

ATTACHMENT
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ORM: BA31E (0/12) Castark BBNEW- C022 Deba GMeENP OL UERRRETIONS iene OATS ol

wt INMATE GRIEVANCE COMPLAINT ey ecw, p (eae
Mot aa No.
TONGS "1191726

hs xX < CORRECTIONAL FACILITY

. Date: uly { Dopo
Name: Aeuithnovey vonccse Dept. No.: IPAU\ \F sousing Unit: t - ck - s

Program: SAO AM PM
(Please Print or Type — This form must be filed within 21 calendar days of Grievance Incident)*

Description of Problem: (Please make as brief as possible) AWD. Stat C vbw be ios \V

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Signature: Ure 220
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Date: 6OaR. cacy

2 aia a RGA Are GRIEVANCE

Action requested by inmate: Solve dle Suc Cet Cte SS cond wiecl
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2s \S Apu \ Wutoeut VEXAC AN Cuotitias Ath cc

The Grievance has been formally resolved as follows: “Les e \ C -

This Informal Resolution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature: Date:

if unresolved, you are entitled to a hearing by the inmate Grievance Resolution Committee (IGRC).
*An exception to the time limit may be requested under Directive #4040, section 701 .6(g).
/|
FOR’ at fen Asie) (912B-CVv-00229-JLS Document 7 ged 07/31/24 = Page 47 of 72 ©
Response of IGRC: Grievarce is DENIED. |
Tain tox lack, §70L.5 (b)(2)(ii)(a) this grievance was heard in ebsentia because the grievant is in SHU/Long
Per Sgt: ’S.. he! ckilaiked to the the grievant that chow must! be sexved ag som as sible after its
SW, a pee FON 3.404 VEIT A 2b. The recreation program is also a moming progran, th omer to get all een OS
the green goes to eed geo Hey must utilize all the time in the ming thet they om, The timing of when
a bot teal he may bene to forgo the yas ees MSY TOE alleys work to his fava. Sgt. S... -told him that if he wants

Date Returned to Inmate: | IGRC Members:

_

Return within 7 calendar days and check appropriate boxes.*

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DXouges with IGRC response and wish to Ct haves reviewed deadlocked responses.
a“ appeal to Superintendent. / Pass-Thri to Superintendent.

CI | agree with the IGRC response and wish fo

Ot apply to the IGP Supervisor for’
_ appeal to the Superintendent.

__, Feview of dismissal.

Z . f) . em | i~ 7 Le aKa oy:

tos SV i een!

Signed: 4 Pd LF vad __/ibggen - Noby Las .
fevant 4 _/ Date
_Grievance Clerk's Receipt Date
To be completed by Grievance Clerk.
Grievance Appealed to the Superintendent:
Date
. Grievance forwarded to the Superintendent for action:
Date

* An exception to the time limit may be requested under Directive #4040, section 701.6(g).
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 48 of 72

i“ . GRIEVANGE NO. DATE FILED
A s NEW | Corrections and A-1191-20 7/2/2020
ee Community Supervision
° . : FACILITY . POLICY DESIGNATION
Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM TITLE OF GRIEVANCE CLASS CODE
Meal times 24
SUPERINTENDENT Lo
SUPERINTENDENT'S SIGNATURE DATE
4 OM SLS sf fps
GRIEVANT e DIN HOUSING UNIT
Ruggiero, A. 99A4419 ORLEANS SHU200

The grievant asserts that meals are served while he is at recreation.

Sgt. S... provided a written response asserting that meals are served as soon as they are
delivered to SHU and at times there are inmates that are still out to recreation. He asserts the
procedure has been changed and that inmates that are in recreation will be served their meal
upon returning to their cell.

It is noted that the grievant has been transferred and should address any SHU concerns with
the SHU Sgt. at his current facility.

Based on the investigation, the decision of the IGRC is upheld and the grievance appeal is
denied,

APPEAL STATEMENT
lf you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance

Clerk. You have seven (7) calendar days from recaipt of this notice to file your appeal.* Plaase state why you are appealing
this decision to C.0.R.C.

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MON Vb Gb Xo © xe p Noe LESS Loolals \

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.GRIEVANT'S i () DATE
GRIEVANCE CLERK’S SIGNATURE DATE

*An exception to the time limit may be requested under Directive #4040, section 701.6 (g)
Form 2133 (02/15)
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 49 of 72

(A ROA crews
Grievance Number Desig! Date Filed

A-1194-20 1/24 07/02/20
st BM, | Corrections and
grate | Community Supervision [Assodaied Cases Hearing Date

01/14/21

ANDREW M. CUOMO ANTHONY J, ANNUGCI
Governor Acting Commissioner

Fagilily
Attica Correctional Facility

Title of Grievance
INMATE GRIEVANCE PROGRAM Change Meal Times

GENTRAL OFFICE REVIEW COMMITTEE

GRIEVANT'S REQUEST UNANIMOUSLY DENIED FOR MOOTNESS

Upon full hearing of the facts and circumstances in the instant case, the grievant's action requested is
hereby denied, aS CORC considers the issue moot.

CORC notes that Directive #4040, § 701.3 requires that "An inmate must be personally affected by
the policy or issue he or she is griéving, or must show that he or she will be personally affected by
that policy or issue unless some relief is granted or changes made.”

CORC notes that the grievant was transferred on 7/31/20. Due to this change in circumstances, the
grievant is no longer personally affected by the issues raised in the instant complaint.

Accordingly, the matter is now closed.

SMM/jna

This document has been electronically signed by Shelley M. Mallozzi
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 50 of 72

ATTACHMENT
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Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 51 of 72

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Case 1:23-cv-00229-JE&. Document / Eiled Qrisii2a Page 52 of 72

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i ' Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 53 of 72
NEW. | Corrections and

YORK
——— FATE | Community Supervision
ANDREW M. CUOMO ANTHONY 3. ANNUCCI
Governor Acting Commissioner
MEMORANDUM
TO: Ruggiero 9944419 (RB-CE-8)

FROM: | _ S. White, Deputy Superintendent for Securi y
DATE: 6/25/20 [

SUBJECT: Your letter

| have received your 6/23/20 request to have your cell shield removed: your request is
_ denied. It will be reviewed by the Superintendent every week for renewal,

cc: DSS, inmate

Attica Correctional Facility, 639 Exchange Street, Attica, NY 14011-0149 | (585) 591-2000 | www.doces.ny.gov
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 54 of 72

MM INDICATES DATA IS MISSING.
T INDICATES TRACE AMOUNT.

&&
-» SEARING AND PERSISTENT SUMMER HEAT...

RELENTLESS HEAT WAS UPON WESTERN NEW YORK THROUGH THE MONTH
OF JULY,

AND FOR THE FIRST TIME IN RECORDED HISTORY, A MONTH FEATURED
EVERY

DAY‘S TEMPERATURE AVERAGING 70F OR GREATER. THE PINNACLE OF
THE HEAT

WAVE WAS EARLY IN THE MONTH WHEN THE TEMPERATURE SOARED TO
98F/9TH

AND 97F/10TH...WITH THESE VALUES BEING THE 2ND (TIED) AND
ATH (TIED)

WARMEST TEMPERATURES MEASURED IN 150 YEARS WORTH OF RECORDS
AT

BUFFALO. A DRY GROUND AIDED IN THE BUILDING HEAT EARLY IN
THE MONTH, .

THOUGH SEVERAL BOUTS OF THUNDERSTORMS AND RAIN MID MONTH
ONWARD
ALLOWED VEGETATION TO FRESHEN.

THE TEMPERATURE AVERAGED 77.6F IN JULY. THIS IS THE WARMEST
ALL-TIME

MONTHLY TEMPERATURE ON RECORD, AND EXCEEDED THE PREVIOUS
WARMEST

JULY ON RECORD BY 1.4 DEGREES FAHRENHEIT. FROM JULY 3RD TO
JULY 10

THE MAXIMUM TEMPERATURE REACHED INTO THE 90S EVERY DAY...AND
THESE 8

CONSECUTIVE 90 DEGREE DAYS BROKE THR FORMER LONGEST STRETCH
OF

CONSECUTIVE 90 DEGREE DAYS BY 1 (7-DAYS JULY 1988). THE
“COOLEST”

TEMPERATURE THIS MONTH WAS ONLY 63F. THERE HAS NEVER BEEN A
MONTH

BEFORE THAT FAILED TO DIP TO AT LEAST 62F ON RECORD. THERE
WERE 3

RECORD DAILY MAXIMUM TEMPERATURES ESTABLISHED, 94F/7TH (OLD
94F/1988), O8F/9TH (OLD 92F/1988) AND 97F/10TH (OLD
95F/1988). THERE

WERE ALSO THREE RECORD WARM MINIMUM TEMPERATURES SET,
76F/8TH (OLD

74F/1921), 76F/10TH (OLD 76F/1897), 74F/27TH (OLD 74F/1949).
Case 1:23-cv-00229-JLS Document 7

These data are preliminary and have not under
the National Climatic Data Center (NCDC).

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NCDC = bitns//eew.nedene

Climatological Report (Monthly)

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CXUS51 KBUF 031345
CLMBUF

CLIMATE REPORT

NATIONAL WEATHER SERVICE BUFFALO NY
924 AM EDT WED JUL 1 2020

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.--THE BUFFALO NY CLIMATE SUMMARY FOR THE

2020...

CLIMATE NORMAL PERIOD 1981 TO 2010
CLIMATE RECORD PERIOD 1871 TO 2020

WEATHER OBSERVED NORMAL

YEAR'S

Filed 07/31/24 Page 55 of 72

gone final quality comtrol by

Therefore, these data are
subject to revision. Final and certified climate data can be accessed at the

VALUE DATE(S) VALUE

DATE (S)

MONTH OF JUNE

DEPART LAST

FROM VALUE

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TEMPERATURE (F)

RECORD
HIGH 97 06/29/1933
LOW 36 06/11/1972

HIGHEST 90 06/10

06/28

/24

LOWEST 42 06/14

06/04

/03

AVG. MAXIMUM 76.8

AVG. MINIMUM 57.5

MEAN 67.1

DAYS MAX >= 90 1

75.3
57.3
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44

06
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 56 of 72

CLIMATE REPORT

NATIONAL WEATHER SERVICE BUFFALO NY

141 PM EDT SAT AUG 1 2020

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-. «THE BUFFALO NY CLIMATE SUMMARY FOR THE MONTH OF JULY

2020...

CLIMATE NORMAL PERIOD 1981 TO 2010
CLIMATE RECORD PERIOD 1871 TO 2020

WEATHER
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DATE (S)

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TEMPERATURE (F)
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HIGHEST

07/10

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AVG, MAXIMUM
AVG. MINIMUM
MEAN

DAYS MAX >= 30
DAYS MAX <= 32
DAYS MIN <= 32
DAYS MIN <= 0

PRECIPITATION
RECORD

MAX IMUM
MINIMUM
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DAYS >= .O1
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GREATEST

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07/09/2020
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Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 57 of 72

ATTACHMENT
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' vo os ~ casé}aré2'ov-00229-ILS Document 7 Filed 07/31/24 Page 58 of 72
YOU !

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OA 2A es (9/12) cv-00229-JLS Document7 Filed Of#B1/24 Page 59 of 72
response of IGRC: Grievarre is DENIED. . . . . os
Per Directive #4040 §701.9 (p)(2)(4i)(a) this grievance was beard in absentia because the grievant is in SHU/Long,
ay ves placed on Lists for clening ani filling, His name del 1

Date Returned to Inmate:

c J
IGRC Members: _ Ki J Ls

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Chairperso

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Return within 7 calendar days and check appropriate boxes.*

[1] thave reviewed deadlocked responses.

PAC disagree with |GRC response and wish to
Pass-Thru to Superintendent.

“appeal to Superintendent.

[-] | apply to the IGP Supervisor for

[1] tagree with the IGRC response and wish to
review of dismissal.

appeal to the Superintendent.

, cy 5 & ? wt oo \ 1, “a oT.
signed. 24 Lied Pf AL (AMD DE So VON OAC
Grievant / A ~— ¢ Date
Grievance Clerk's Receipt Date
To be completed by Grievance Clerk.
Grievance Appealed to the Superintendent:
Date
Grievance forwarded to the Superintendent for action:
Date

.. ccshatian ta tha time limit may be requested under Directive #4040, section 701.6(g).

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Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 60 of 72 .

GRIEVANCE NO. DATE FILED
A ee | Corrections and ~ A-1200-20 1713/2020
2 Fatt | Community Supervision
= 4 FACILITY POLICY DESIGNATION
. Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM TITLE OF GRIEVANCE CLASS CODE
Dental appointment 21
SUPERINTENDENT
SUPERINTENDENT'S SIGNATURE DATE
Kee CML LL Df
GRIEVANT “7 DIN HOUSING UNIT
Ruggiero, A. 99A4419 RB-CE-8

The grievant asserts that he needs a denial appointment.

DDS T... provided a response asserting that the grievant had a tooth extracted on 8/14/19 and
was placed on the cleaning and filling lists. The grievant was not reached on the list prior to the
COVID restrictions. Dental is currently restricted to urgent and emergent cases at this time.

The grievant will be called upon being reached on the respective lists, The grievant is reminded
to address dental concerns via dental sickcall.

Based on the investigation, the decision of the IGRC is upheld and the grievance appeal is
denied.

APPEAL STATEMENT
if you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance

Clerk. You have seven (7) calendar days from receipt of this notice to file your appeal.* Please state why you are appealing
this decision to C.O.R.C,

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GRIEVANT'S SIGNATURE Pe DATE
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GRIEVANCE CLERK’S SIGNATURE DATE

“An exception to the time limit may be requested under Directive #4040, section 701.6 (g)
Form 2133 (02/15)
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 61 of 72 os
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Grievance Number Desig Code Date Filed
A-1200-20 21 07/03/20
ot HEY, Corrections and
Comm, STATE Community Supervision |“Asscciaied Cases Hearing Date
12/17/20
ANDREW M, GUOMO ANTHONY J. ANNUGC] Ea Giify
Governor Acting C: issi ' ' tee
sng otoimisener Attica Correctional Facility
Title of Grievance
INMATE GRIEVANCE PROGRAM Dental Appointment For Cavity/Dentures
CENTRAL OFFICE REVIEW COMMITTEE

GRIEVANT'S REQUEST UNANIMOUSLY ACCEPTED IN PART

Upon full hearing of the facts and circumstances in the instant case, and upon recommendation of the
Dental Director, the action requested herein is hereby accepted only to the extent that CORC upholds
the determination of the Superintendent for the reasons stated.

CORC notes that the grievant was placed on the appropriate waiting list for routine treatment and he
will receive treatment when his name is reached. CORC asserts that dental treatment is based on
priority and staff resources; emergency care has top priority, followed by essential and routine care.
CORC advises him that dental staff determine the course of treatment.

With respect to the grievant's appeal, CORC finds insufficient evidence of improper dental care or
malfeasance by staff. He should address further dental matters via sick call at his current facility.

HLK/

This document has been electronically signed by Shelley M. Mallozzi
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 62 of 72

ATTACHMENT
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TO) casthanbsicv -00229- JLS Document 7 Filed 07/31/24 Page 63 of 72

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Response of
Pex Directive #040
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Date Returned to Inmate:

IGRC Members: Ki Z U (3, .

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“Return within 7 calendar days and check appropriate boxes.”

Chairperso

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Pass-Thru to Superintendent.

appeal to Superintendent.

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review of dismissal.

appeal to the Superintendent.

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. A ba FIs pet ff AEP ‘4 ee RES SF eo CN!
Signed: 4 EL, EET CA L (MG Y &X Vp se —"
7 ° 7? Ls if = “ "
Grievant Lf (Date
a £ 2
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Date

Grievance Clerk's Receipt

To be completed by Grievance Clerk.

Grievance Appealed to the Superintendent:
Date

Grievance forwarded to the Superintendent for action:
Date

.. -unintian ta tha time limit may be requested under Directive #4040, section 701.6(g).
Document 7

Case 1:23-cv-00229-JLS Filed 07/31/24

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GRIEVANCE NO. DATE FILED |
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a staTE | Community Supervision |
| FACILITY POLICY DESIGNATION
. Attica Correctional Facility Institutional
INMATE GRIEVANCE PROGRAM TITLE OF GRIEVANCE CLASS CODE
Dental appointment 21
SUPERINTENDENT
SUPERINTENDENT'S SIGNATURE DATE
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GRIEVANT ~~ T DIN HOUSING UNIT
Ruggiero, A. 99A4419 RB-CE-8

The grievant asserts that he needs a dental appointment.

DDS T... provided a response asserting that the grievant had a tooth extracted on 8/14/19 and

was placed on the cleaning and filling lists. The grievant was not reached on the list prior to the
COVID restrictions. Dental is currently restricted to urgent and emergent cases at this time.

The grievant will be called upon being reached on the respective lists. The grievant is reminded

to address dental concerns via dental sickcall,

Based on the investigation, the decision of the IGRC is upheld and the grievance appeal is

denied.

APPEAL STATEMENT

If you wish to refer the above decision of the Superintendent please sign below and return this copy to your Inmate Grievance

Clerk. You have seven (7) calendar days from
this decision to C.O.R.C. _

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receipt of this notice to file your appeal.* Please state why you are appealing

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GRIEVANCE CLERK’S SIGNATURE DATE

“An exception to the time limit may be requested under Directive #4040, section 701.6 (g)
Form 2133 (02/15)

Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 66 of 72

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Huggierd, 9 4d

Grievance Number Desig (Code Date Filed
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Comm STATE | Community Supervision | “Associated Cases Hearing Dale
12/17/20
ANDREW M, CUCMO ANTHONY J. ANNUCCI Facility
Gaverno Acting C: issi ' ' 19
‘ Hing ommissioner Attica Correctional Facility
Title of Grievance
INMATE GRIEVANCE PROGRAM Dental Appointment For Gavity/Dentures
CENTRAL OFFICE REVIEW COMMITTEE

GRIEVANT'S REQUEST UNANIMOUSLY ACCEPTED IN PART

Upon full hearing of the facts and circumstances in the instant case, and upon recommendation of the
Dental Director, the action requested herein is hereby accepted only to the extent that CORC upholds
the determination of the Superintendent for the reasons stated.

CORC notes that the grievant was placed on the appropriate waiting list for routine treatment and he
will receive treatment when his name is reached. CORC asserts that dental treatment is based on
priority and staff resources; emergency care has top priority, followed by essential and routine care.
CORC advises him that dental staff determine the course of treatment.

With respect to the grievant's appeal, CORC finds insufficient evidence of improper dental care or
malfeasance by staff. He should address further dental matters via sick call at his current facility.

HLK/

This document has been electronically signed by Shelley M. Mallozzi
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 67 of 72

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Dental Clinic.

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6. OTHER

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF NEW YORK
ANTHONY RUGGIERO ,

Plaintiff ,

-V- 23-cv-0229(JLS)

DONALD D. ROGERS, eta;.,

Defendants

CERTIFICATE OF SERVICE

The Plaintiff , Anthony Ruggiero , pursuant to 28 U.S.C. Section 1746 declares under penalty
of perjury:

That | have mailed THE ORIGINAL signed in ink , and 10 copies of plaintiff's FIRST
AMENDED COMPLAINT in accordance with the Court’s Decision and Order signed on June
12, 2024 (Dkt, No.5) , by depositing same in a pre-paid priority mail EXPRESS (overnight mail)
mailing service effectuated by the United States Postal Service , by plaintiff delivering same
to the United States Post Office located in Valley Stream , New York for delivery to the Chief
Clerk of the United States District Court for the Western District of New York 2 Niagara
Square , Buffalo , New York 14202 on the date indicated below.

Dated: July 27, 2024

ANTHONY RUG
PLAINTIFF PRO SE
400 Flower Road , Apt. 9B

Valley Stream , New York 11581
Case 1:23-cv-00229-JLS Document7 Filed 07/31/24 Page 70 of 72

July 27, 2024

To: Hon. Mary C. Loewenguth Chief Clerk
United States District Court
Western District of New York
2 Niagara Square

Buffalo New York 14202

From: Anthony Ruggiero
400 Flower Road , Apt.9B
Valley Stream , New York 11581

Phone: 929-658-1379

RE: ANTHONY RUGGIERO V. DONALD D. ROGERS, et al.,

23-cv-0229(JLS) PLAINTIFF’S FIRST AMENDED COMPLAINT

Dear Chief Clerk Ms.Loewenguth,

Enclosed please find The Original and 10 copies with attachments of PLAINTIFF’S FIRST

AMENDED COMPLAINT.

Very truly yours,

Anthony Ruggiéro , Plaintiff Pro se

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Case 1:23-cv-00229-JLS Document 7

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